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                                                                                 j~N   Hi 'lOP
Check the box next to the best des;;ription
of your cause of action. Choose only one:                                 Gierk, U.S. District Court
                                                                            District of Montana
Prisoner Civil Rights                                                 D
Non-Prisoner Civil Rights                                             D
Pemonal Injury/Tort                                                   D
Tax Collection Practices                                              D
Employment Discrimination                                             o
Other (specifY)    F~lIur~ T<l.lu!lw:r~.~(l AUAA~UllOdajtlt! R'Jl~~   D


                       IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF MONTANA

                   _G7.r~e_at_F_·a~ll~s~~~~~__~~_DnnmON
                      (You must fill in this blank. See Instruction 6.)

 Diana Butler                                                                 Cause No. _____- - -__--:-­
                                                                                          (to be filled in by Clerk of Court)
 (Full name of Plaintiff and prisoner number, if any)

                                               Plaintiffs,
                                                                                            COMPLAINT
     Vll.
                                                                              Jury Trial Demanded                     o
 National General Supply
                                                                              Jury Trial Not Demanded

 - -..- ....   -                                                          ~

 (Full name of each defendant Do nOI use et al.)

                                               Defendants.

                                                                  INSTRUCTIONS

I. Use this form to file a civil complaint with the United Slates District Court for the Distriet of
   Montana. You may attach additional pages where necessary.

2. YOW' complaint must include only counts/causes of action and fuets                             not legal arguments or
   citations.

                                                                                                 Complaint (Revised 5109)
Plaintiff's lAst Name _~tl_tl_e_r_ _ __                                                                     Page 1 of?
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3. Your complaint must be typed or legibly handwritten. All pleadings and other papers
   submitted for filing must be on 8 %" X 11" paper (letter size). Each plaintiff must sign the
   complaint (see page 7). The signatures need not be notarized. However, each signature must
   be an original and not a copy. You must pay the Clerk for copies of your complaint or other
   court records, even ifyou are proceeding in forma pauperis. The cost for copies is $0.50 per
   page and prepayment is required.

4. The filing fee for a complaint is $350.00. The filing fee is set by Congress and cannot be
   changed by the Court. In addition, you will be required to pay the cost of serving the
   complaint on each ofthe defendants. If you are unable to prepay the entire filing fee and
   service costs for this action, you may move to proceed in fonna pauperis. Your compldint
   will be returned to you withoutfiling if it is not accompanied by either the full filing fee Or
   a motion to proceed i .. forma pauperis. Please note that prisoners proceeding in forma
   pauperis are required to pay the full filing fee in installments.

5. Complaints submitted by persons proceeding in fonna pauperis and complaints submitted by
   prisoners suing a governmental entity or cmployee are reviewed by the Court before the
   defendants are required to answer. See 28 U.S.c. §§ 1915(e)(2), \915A(a); 42 U.S.c. §
   1997e(c). After the Court completes the review process, you will receive an Order explaining
   the findings and any further action you mayor must take. The review process may take a few
   months; each case receives the judge's individual attention.

6. Pursuant to Standing Order DWM 27, "no prisoner may maintain more than two (2) civil
   actions in fonna paup~'Iis at one time, unless the prisoner shows that he or she is under
   imminent danger of serious physical injury."

7. The case caption (page I of this fonn) must indicate the proper Division for filing. A
   Division where the alleged wrong(s) occurred is a proper Division. When you have
   completed your complaint, mail the original of your complaint and either the full filing fee or
   your motion to proceed in fonna pauperis to the proper Division:

Billings Division: Clerk of u.S. District Court, 316 N. 26th, Room 5405, Billings, MT 59101
                   (Big Horn, C.arbon, Carter, Custer. Dawson, Fallon, Garfield, Golden Valley,
                   McCone, Musselshell, Park, Petroleum, Powder River, Prairie, Richland,
                   Rosebud, Stillwater, Sweetgrass, Treasure, Wbeatland, Wibaux or
                   Yellowstone County)

Butte Division:    Clerk of U.S. District Court, 400 N. Main St, Federal Bldg. Rm. 303, Butte,
                   MT 59701
                   (Beaverhead, Deer Lodge, Gallatin, Madison, or Silver Bow County)




                                                                         Complaint (Revised 5109)
   . iff's Last "ame
PIamll          A;     Butler
                     _ _ _ _ _ _ _ _ _ _ _ _ _ __                                   Page2of7
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Great Falls Division: Clerk of U.S. District Court, 215 1st Ave. North, P.O. Box 2186, Great
                      Falls, MT 59403
                      (Blaine, Cascade, Chouteau, Daniels, Fergus, Glacier, Hill, Judith Basin,
                      Liberty, Phillips, Pondera, Roosevelt, Sheridan, Teton, Toole, or Valley
                      County)
                      Crossroads Correctional Center i. located in Toole County

Helena Division:      Clerk of U.S. District Court, 901 Front St., Ste 2100, Helena, MT 59626
                      (Broadwater, Jefferson, Lewis & Clark, Meagher, or Powell County)
                      Montana State Prison is located in Powell County

Missoula Division:    Clerk of the U.s. District Court, 201 E. Broadway, P.O. Box 8537,
                      Missoula, MT 59807
                      (Flathead, Granite, Lake, Lincoln, Mineral, Missoula, Ravalli, or Sanders
                      County)

                                    COMPLAINT
                            I. PLACE OF CONFINEMENT

A. Are you incarcerated?             YesD                  Nql"l (if No, go to Part II)

B. If yes, where are you currently incarcerated?


C. If any of the incidents giving rise to your complaint occurred in a different
   facility, list that facility:


            n.     EXHAUSTION OF ADMINISTRATIVE REMEDIES

A. Non-Prisoners

    1. Does any cause of action alleged in this complaint require you to exhaust
       administrative remedies before filing in court? Yes D No D Don't                Kn0w!Zl
   2. If yes, have you exhausted your administrative remedies? Yes D                      NoD



                                                                        Complaint (Revised 5/09)
Plaintiff's Last Name Butler                                                       Page 3 of7
                     --------------------------
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B. Prisoners (If you listed other institutions in I_C above, please answer for each institution),

    1. Is there a grievance procedure in your current institution? Yes D                                      NoD

   2. Did you fully exhaust the administrstive grievance process within the jail or
      prison where the incidents at issue occurred?              Yes D       No D

   3. If you did not fully exhaust the grievance process, explain why:
--- ------------------_                                                               .........................   _­



                       III. PARTIES TO CURRENT LAWSUIT

A. Plaintiff                        is a citizen of Montana
                                                        -------
                                                         (State)
presentlyrcsiding at 2362 Old US Highway 91 Cascade. MT 59421
                         (Mailing address or place of confmement)

B. Defendant                             is a citizen of Montana
                                                        ----------
                                                             (State)
employed as                              at National General Supply. Inc.
            (Position and Title, if any)              (Institution/Organization)

Defendant _______.......__is a citizen
                                                                       (State)
employed as                                     at,_ _ _-:=_:---:--=:­
               (Position and Title, if any)              (Institution/Organization)

Defendant           _ _ _ _ _ _ _is a citizen
                                                                       (State)
employed as                                     at,_ _ _-=:_:---:--:-.:_--:-_:--:--_
               (Position and Title, if any)              (Institution/Organization)
(NOTE: If more space is needed to furnish the above information, continue on a blank sheet labeled
"APPENDIX A: PARTlES")_

                                                                           Complaint (Revised 5/09)
Plaintiff's East Name Butler                                                          Page4of7
                      -----------
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                                    IV. STATEMENT OF CLAIMS

A. Count I (State your cause of action, e.g., how have your constitutional rights been violated):
 I would like to have disciplinary action taken for failure to follow the ADA rules involving accommodations.




Date ofincident(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    1. Supporting Facts: (Include all facts you consider important, including
       names of persons involved, places, and dates. State the facts clearly in
       your own words without citing legal arguments, cases, or statutes).

 Since my diagnosis of Multiple Sderosls in July of 2007.1 have asked Aaron Weissman, General Manager of National General Supply


 for several accommodations and have never been fulfilled,
 these accommodations include hand rails on the stairs descending from the 2nd floor
 to the fj"t floor, which was done after I fen down the stairs on July of 2009 and they Were fined by OSHA.

 An offk~ of my own rather than .illS! a cubicle, railings around by cubide for balance. An ergonomiC: c.hair.d



    2. Defendants Involved: (List the name of each defendant involved in this
       claim and specifically describe what each defendant did or did not do to
       allegedly cause your injury),
Aaron Weissman, General Manager. Never did give me any ofthe accommodations for my disability.




(NOTE: For each additional claim, use a blank sheet labeled "APPENDIX B. STATEMENT
OF CLAIMS." You must set forth two paragraphs for each count, one consisting of Supporting
Facts (following the directions under IV(A)(!)), and one consisting of Defendants Involved
(following thc directions under IV(AX2)).


                                                                                               Complaint (Revised 5/09)
Plaintiff's Last Name       _B_u_tl_e_r___________                                                        Page 5 oJ7
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                                           V. INJURY

Describe the injuries you suffered as a result of each individual defendant's
actions. (Do no cite legal arguments, cases, or statutes).

 Due to no handrails descending the stairs from the 2nd floor to the 1st
 I fell down 8 to 9 stairs and was injured. This was one of the
 accommodations that was asked for.           .. . . . .~. . .


- - - - - - - - - - - - - - - ..- -...                              --------~




(NOTE: If more space i. needed to furnish the above information, continue on • blank sheet labeled
"APPENDIX C: INJURY").


                               VI. REQUEST FOR RELIEF

Describe the relief you request. (Do no cite legal arguments, cases, or statutes).

 $140,000.00, the ergonomic chair that was asked for and
tfie assurance that this wilt not happen again.




(NOTE: Ifmore space is needed to fumish the above information, continue on a blank sheet labeled
"APPENDIX D: REQUEST FOR RELIEF").




                                                                           Complaint (Revised 5/09)
                     Buller
Plaintiffs Last Name _ _ _ _ _ _ _ _ _ _ __                                              Page6of7




                                                                              ._------­
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                          VII. PLAlNTIFF'S DECLARATION

A. I understand I must keep the Court informed of my current mailing address and my
   failure to do so may result in dismissal of this Complaint without notice to me.

B. I understand the Federal Rules of Civil Procedure prohibit litigants filing civil
   complaints from using certain information in documents submitted to the Court.
   In order to comply with these rules, I understand that:

   • social security numbers, taxpayer identification numbers, and financial account
     numbers must include only the last four digits (e.g. xxx-xx-5271, xx-xxx5271,
     xxxxxxxx3567);
   • birth dates must include the year of birth only (e.g. xxlxxl200 I); and
   • names ofpersons under the age of 18 must include initials only (e.g. LX.).

If my documents (including exhibits) contain any ofthe above listed information, I
understand it is my responsibility to black that information out before sending those
documents to the Court.

        I understand I am responsible for protecting the privacy of this information.

C. I declare under penalty of peIjury that I am the plaintiff in this action, I have read
   this complaint, and the information I set forth herein is true and correct. 28 U.S.c. §
   1746; 18 U.S.C. § 1621.

D. (prisoners Only) This Complaint was deposited in the prison system for legal mail,
   postage prepaid or paid by the prison, on

              _ _ _ _ _ _ _ _ _ _ _ _ _ _,20_ _,

Executed at -=-_-.-.-:-_______~ .. __= _ _ _ : - - - - - " 20___.
             (Location)              (Date)

                                '~a,;i,p..y /-. t36l~
                               Signature of Plaintiff

(If there is more than one Plaintiff, each Plaintiff must sign the complaint using a separate declarations
                                                   page).
                                                                         Complaint (Revised 5/09)
Plaintiif's Last Name   ....;.?""'-'5U"'-'-T:"-"L=of"L/~<-
                                                      ________                      Page 7 of7
